Case 2:14-cv-01725-MEF-LDW Document 257 Filed 10/17/23 Page 1 of 2 PageID: 7580




                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
 _______________________________
                                  )
 NATIONAL LABOR RELATIONS ) Consolidated Civil Action No.
 BOARD and NEW ENGLAND            ) 14-1725 (MEF)
 HEALTH CARE EMPLOYEES            )
 UNION, DISTRICT 1199, SEIU,      ) Appeal from Bankr. Case No.
                                  ) 13-13653 (DHS)
                      Appellants, )
                v.                )
                                  )
 710 LONG RIDGE ROAD              )
 OPERATING CO. II, LLC, et al.,   )
                                  )
                                  )
                      Appellees. )
                                  )

  SUBSTITUTION OF ATTORNEY AND NOTICE OF WITHDRAWAL OF
              APPEARANCE OF COLE SCHOTZ P.C.

          It is hereby stipulated and consented by the undersigned hereto that Glenn

 Agre Bergman & Fuentes LLP (L. Reid Skibell, Esq.) be substituted as attorneys

 of record for the Appellees, 710 Long Ridge Road Operating Co. II, LLC, et al., in

 the above-captioned matter, in place of Cole Schotz P.C. (Michael D. Sirota, Esq.

 and Ryan T. Jareck, Esq.). The undersigned hereby also respectfully requests the

 withdrawal of appearance of Michael D. Sirota, Esq. and Ryan T. Jareck, Esq.




 51689/0002-46250512v1
Case 2:14-cv-01725-MEF-LDW Document 257 Filed 10/17/23 Page 2 of 2 PageID: 7581




 Withdrawing Attorneys:                    Superseding Attorneys:

 By: /s/ Michael D. Sirota                 By: /s/ L. Reid Skibell
        Michael D. Sirota                        L. Reid Skibell
        Ryan T. Jareck                           Glenn Agre Bergman &
        Cole Schotz P.C.                         Fuentes LLP
        Court Plaza North                        1185 Avenue of the Americas
        25 Main Street                           22nd Floor
        Hackensack, NJ 07602                     New York, NY 10036


 DATED: 10/16/2023                        DATED: 10/16/2023




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